Case 9:19-cv-81179-RAR Document 55-5 Entered on FLSD Docket 04/12/2021 Page 1 of 5




                EXHIBIT
                  E
Case 9:19-cv-81179-RAR Document 55-5 Entered on FLSD Docket 04/12/2021 Page 2 of 5




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                             PALM BEACH COUNTY DIVISION

   ILLOOMINATE MEDIA, INC., et al,           )
                                             )     Case No. 9:19-cv-81179-RAR
                                             )
         Plaintiffs,                         )
                                             )
   v.                                        )
                                             )
   CAIR FLORIDA, INC., et al,                )
                                             )
                                             )
         Defendants.                         )
   ______________________________________________________________________________


                          DECLARATION OF CAROLYN HOMER
          I, Carolyn Homer, swear under the penalty of perjury that the following facts are true

   to the best of my knowledge, information, and belief:

          1.     I have personal knowledge of the facts set forth below. If I were called as a

   witness, I could competently testify about what I have written in this declaration.

          2.     I am currently a member in good standing with the District of Columbia and

   California bars.

          3.     I graduated from the George Washington University Law School in 2012.

   From September 2012 to January 2018 I was a full-time intellectual property litigation

   associate at Quinn Emanuel Urquhart & Sullivan LLP.

          4.     From February 2018 to December 2019, I worked full time as a trial attorney

   with the Council on American-Islamic Relations Foundation, Inc. My litigation work was

   on behalf of the CAIR Legal Defense Fund (“CAIR”).




                                                 1
Case 9:19-cv-81179-RAR Document 55-5 Entered on FLSD Docket 04/12/2021 Page 3 of 5




          5.       In December 2019, I left CAIR to work as a senior associate in the

   Connectivity, Information, and Privacy practice group at the law firm of Latham & Watkins

   LLP. I began that job in January 2020 and still work at Latham & Watkins.

          6.       I have been an attorney of record for CAIR Foundation, Inc. in this case.

          7.       During the course of CAIR Legal Defense Fund’s representation of CAIR

   National on this matter, I have recorded the time spent performing legal services on behalf of

   CAIR National. I entered in a description of the legal services together with the precise time,

   to .1 of an hour, spent performing such legal services on a daily basis. I am only seeking fees

   for major projects and not minor administrative or coordination tasks that took less than one

   half of an hour on any given day, such as filing my pro hac vice application. I also am not

   seeking fees for my time in preparing this affidavit. The recording of my remaining time since

   October 2, 2019, is listed below:

                 DATE                     TIME                            TASK
                                                         Prepare initial outline of motion to
                                                         dismiss argument (2.1); communicate
               11/12/2019                2.4 hours
                                                         with Twitter’s counsel regarding any
                                                         California case developments (0.3)
                                                         Prepare for and conduct moot of
               11/15/2019                1.7 hours       motion to dismiss arguments with G.
                                                         Abbas and J. Sadowsky
                                                         Prepare for motion to dismiss
               11/17/2019                5.9 hours
                                                         arguments
                                                         Travel from Washington D.C. to Fort
                                                         Lauderdale, and back again, for
                                                         motion to dismiss argument. (9.3
                                                         hours)

                                                         Preparation for motion to dismiss
               11/18/2019               17.4 hours
                                                         argument once in Fort Lauderdale (I
                                                         also reviewed materials on the plane,
                                                         billed separately above) (6.2)

                                                         Attend Court to argue motion to
                                                         dismiss (1.9 hours)

                                                  2
Case 9:19-cv-81179-RAR Document 55-5 Entered on FLSD Docket 04/12/2021 Page 4 of 5




          8.      The total amount of hours I expended in this action since October 2, 2019, is

   28.6 hours. The time I spent was reasonable and necessarily expended in the preparation and

   defense of this case.

          10.     When I left Quinn Emanuel Urquhart & Sullivan in January 2018 as a sixth-

   year associate, my standard intellectual property litigation billing rate was $835 an hour.

   Notably, at the time I left Quinn Emanuel, I had a defense-side pro bono defamation case

   pending in D.C. Superior Court. My former colleagues later substantially prevailed on an

   anti-SLAPP motion to dismiss, and the Court awarded the firm my fees at a rate of $387.20

   per hour, based on a 10% upward adjustment of the D.C. Laffey matrix. See Audu v. Igwe-

   Odunze, Civil Case No. 2017 CA 006915 B (Sept. 10, 2018 Order).

          11.     The current U.S. Attorneys Office Laffey matrix for the District of Columbia

   uses a $388 hourly rate for an attorney with the experience level I had at the time I worked

   on this case. See https://www.justice.gov/usao-dc/page/file/1305941/download.

          12.     I certify that a $388 hourly rate is reasonable.

          I swear under the penalty of perjury that the foregoing is true and correct.

   Executed on March 25, 2021 in Alexandra, Virginia.

                                                       ________________________




                                                   3
                   Case 9:19-cv-81179-RAR Document 55-5 Entered on FLSD Docket 04/12/2021 Page 5 of 5


Date      Hours      Description
   22-Aug        1.5 Prepare case for removal to federal court (0.9); effectuate mail service on defendants (.9)
   27-Aug          2 Prepare and file motion for extension / setting of briefing deadlines regarding motion to dismiss.
   29-Aug        8.5 Draft portions of, revise, and file Motion to Dismiss.
   12-Nov        2.5 Prepare initial binder and outline for Motion to Dismiss materials, communicate with Twitter’s counsel re case updates.
   13-Nov        2.2 Prepare for and participate in moot oral argument hearing
   15-Nov        0.5 Prepare and file PHV application
   17-Nov          6 Prepare for oral argument
   18-Nov       17.4 Travel to FLL for argument (5.7); prepare for and perform oral argument (4.6); return to DC (7.1)




Total            40.6
                 28.6 after October 2.
